Case 1:21-cv-01808-RDM   Document 41-158   Filed 12/13/23   Page 1 of 11




                             Exhibit 158
            Case 1:21-cv-01808-RDM                      Document 41-158                Filed 12/13/23   Page 2 of 11
            FOIA 22-0121 (also contains Ops Report infom,ation for 22-0134, 22-0169)



  Ops Report                                                                                                         lflQ
                                                                                                                     ;~
                                                                                                                              11




  Monday, 24 October 2022


Ops Report
Date Occurred(L)          Apr 07 2007 16:15:00

is Closed                    TRUE

Summary                   3-1 04:214
                          38SMC 70420 45760
                          5-73
                          INITIAL At 071615APR07 TF 5-73 reports an IED Detonation in the Diyala Province, in Zaganiyah
                          vie 38S MC 7042 4576. While D/5-73 conducting resupply operations to a patrol base in the town
                          of Zaganiyah, th(l>~        uck was struck by an IED. Initial reports has 4x US WIA Urgent Surgical
                          an~             /bl/1l1 .4q        I Medevac has taken the soldier's to Salad for treatment. QRF
                          from the patrol base and AWT is securing the site. MTF.
                          At 071728APR07, 5-73 repots that the 3x the 4x US WIA are now DOW resulting from the IED
                          blast. Currently 1x USWIA is being treated at Salad.
                           FOLLOW UP REPORT: At 071835APR07, 5-73 reports that there were 5x passengers in this
                          vehicle. 2x soldiers were trapped inside of the vehicle after blast and were KIA. A MEDEVAC was
                          called in for the reaining 3x soldiers. 2x of those soldiers DOW en route to Salad. Currently, the 1x
                          US WIA is in serious condition, being treated in the OR at Salad. The bodies of the 2x KIA in the
                          vehicle are currently being recovered.The IED detonation was on route Barley. MTF
                          KIA: 4x US KIA
                          WIA: 1x US WIA
                          EQUIPMENT BDA~                (b)(1)1.4g
                          CREW SYSTEM : UNK
                          SIGACTS MEETS MNC-I CCIR #6 AND MND-N 1

                          CLOSED 07 1752APR07
                          --------------- - - - - - - - - - - ---------------------------------------------------- ------------

                          EOD COMMENTS:
                                                                                                               I
                          Team responded to a Post Blast at MC 7040 4573. The IED detonation resulted in (bl/1)1 .49
                         I       (b)(1)1.4g      14 x US KIA, 1 x US WIA. The vehicle was flipped upside down and came to
                          rest approximately 20 meters south of the IED crater. The!         /bl/1l1.4g !were found 45 meters
                          from the IED crater. After the detonation, the vehicle was almost completely consumed by fire.
                          The IED was located in the middle of RTE Barley and is believed to have been placed just under
                          the surface of the road. The resulting crater from the detonation was 5 feet in diameter and 2 feet
                          deep. Due to amount of fragmentation on scene, team suspects that there were at least 3 to 4
                          ordnance items 130mm or larger employed as the main charge. Command wire trail was dug into
                          the blacktop of the road that lead from the IED crater to the east side of the road. The trail
                          continued approximately another 5 feet east on the shoulder of the road and then made a ninety
                          degree turn north. The trail paralleled the road for approximately 30 meters and ended at a corner
                          of a walled in house. A possible firing point was identified from the house. There was a second
                          story balcony with a hole chipped into the wall. It's possible a trigger-man could lie down and look
                          through the hole, which provided direct line-of-sight to the IED crater and a corner of another
                          building located across the street. No command wire was found, and it is believed the trigger man
                          recovered his command wire immediately after detonating the IED. CCIR#6. 3.5 hours.
                          071615DAPR07.
                          ----------------------------------------------------------------------------

                          WIT 12 COMMENTS: ON 07 APR 07 AT 17400, TF 1-12 REQUESTED EOD/WIT RESPOND

                                                                                                             Page 1 of 7
            USCENTCOM FOIA 22-0063L                                   0246                                     01/31/23
            Case 1:21-cv-01808-RDM              Document 41-158          Filed 12/13/23   Page 3 of 11




                         TO PERFORM PBA ON A b 1 1.4 STRUCK BY AN IED OFF OF ROUTE BARLEY, WHICH
                         RESULTED IN 4X KIA, 1X WIA, ANDI                   (b)(1)1.4g               IWAS
                         INITIALLY REPORTED. EOD/WIT DEPARTED FOB WARHORSE AT 1815D AND ARRIVED
                         ON-SCENE AT 1853D IVO 38S MC 70429 45623. THE UNIT INVOLVED WAS TF 5-73, DELTA

                         OF THE ATTACK. THERE WERE A TOTAL
                         OFI               lbl(J}14g
                                                                    oi
                         CO WHICH WAS PATROLLING THE SOUTHBOUND LANE OF ROUTE BARLEY AT THE TIME
                                                                    {bJ{1J1.49     11N THE CONVOY (CONSISTING
                                                                I 1TH APPROXIMATELY (<b)(1l1.4g1INTERVALS),
                         WHEN THE:I                  (h)(1)1 4g             I WERE EQUIPPED WITH ! (b)(1)1.4g   i
                         AND THIS WAS THE FOURTH TIME THAT DELTA CO HAD PATROLLED ROUTE BARLEY
                         THAT DAY. THE DETONATION CAUSED THE VEHICLE TO FLIP UPSIDE DOWN AND LAND
                         APPROXIMATELY 15M TO THE SOUTH OF THE BLAST SEAT. THEI (bl(1}1.4g !LANDED 40M
                         SOUTH OF THE BLAST SEAT, HEADING TOWARDS A TWO STORY HOUSE SOM NORTH
                         EAST OF THE BLAST SEAT. A COMMAND WIRE TRENCH EXTENDED TO THE EAST OF
                         THE BLAST SEAT. THE BLAST SEAT MEASURED SFT IN DIAMETER AND 2FT DEEP. NO
                         COMMAND WIRE WAS RECOVERED FROM THE SCENE. TO THE EAST OF THE BLAST
                         SEAT THERE WAS A TIRE WITH A PIECE OF METALLIC SHEET PLACED ON THE NORTH
                         SIDE OF THE TIRE TREAD. EOD RECOVERED FRAGMENTATION CONSISTENT WITH AT
                         LEAST 4X 130MM ROUNDS. EOD/WIT ARRIVED BACK AT FOB WARHORSE AT 2020D.
Su icide Count           0
is Effective Explosive   FALSE
Hazard
Blown In Place           FALSE

Year Occurred            2007

Month Occurred           April

Day Occurred             7

Event Type               Explosive Hazard

Event Category           IED Explosion

Event MOA                Improvised Explosive Device (IED)

Primary Country          IRAQ

Primary AOR              USCENTCOM

Primary Region           IRAQ
Primary RC               USD-N

Primary AO               3/2 SBCT

Primary District         Diyala
Primary Province         Diyala

was Suicide              FALSE

Tracking Number          20070407161538SMC7042045760

Attack On                Coalition

Unit Activity            Mounted Patrol

Title                    IED EXPLOSION(CWIED) ATTK ON TF 5-73 IVO (ROUTE BARLEY): 1 CF WIA 4 CF KIA

Association Count        3

BOA Friendly KIA         4

                                                                                              Page 2 of 7
             USCENTCOM FOIA 22-0063L                         0247                               01/31/23
            Case 1:21-cv-01808-RDM            Document 41-158        Filed 12/13/23      Page 4 of 11



Ops Report
BDA Friendly WIA       1
BDA Friendly           5
Casualties
BDA Friendly ABD       0

BDA Civilian KIA       0
BDA Civilian WIA       0
BDA Civilian           0
Casualties
BDA Civilian ABD       0
BDA Host Nation KIA 0

BDA Host Nation WIA 0
BDA Host Nation        0
Casualties
BDA Host Nation        0
ABD
BDA Enemy KIA          0
BDA Enemy WIA          0
BDA Enemy              0
Casualties
BDA Enemy Detained o

City                   BAQUBAH

Classification         SECRET
Classification         REL TO USA, AUS, GAN, GBR
Releasabilitv Mark
CIONE Folder                       (b)(6)           ILiteReportView.cfm?module=operations&reporttype=sigact&re
                       portkey=CC574726-5056-9023-583F8F5D0F1B042D&entity=report

Date Occurred Excel    07/04/2007
UK
Date Occurred Excel    04/07/2007
us
Date Posted(Z)         Apr 07 2007 13:59:03

Date Updated(Z)        Dec 31200706:16:00

FOB                    WARHORSE

Latitude               33.85171127319336

Longitude              44.68024444580078

MGRS                   38SMC7042045760

MOACount               1

Or iginating System    Not Provided

Or iginator Group      MND-N CHOPS

Originator Name             (b)(6)



                                                                                              Page 3 of 7
            USCENTCOM FOIA 22-0063L                    0248                                     01/31/23
          Case 1:21-cv-01808-RDM                    Document 41-158       Filed 12/13/23       Page 5 of 11



Ops Report
Originator Unit         ADMIN

Precedence              Immediate
Report Key              CC574 726-5056-9023-583F8F5D0F1 B042D

Reporting Unit          MND-N

Route                   BARLEY
Type Of Unit            Coalition Forces
Unit Name               TF 5-73
Updated By Group        TF Troy DATA Management

Updated By Name                            {b)(6)

Updated By Unit         CJTFTROY
Vehicle Convoy
Count
Vehicle Convoy
Soeed
Vehicle Convoy
Soeed Measure
                    ( )(1)1.4
Vehicle Distance
Between
Vehicle Nearest ECM
TolED
Vehicle Nearest ECM
To Vehicle Struck
Vehicle Other         N/A
Counter Measures
                      w1T 12 COMMENTS: THE CONVOY CONSISTED oFI            {b)(1)1.4g
Vehicle Summary
                      WITH APPROXIMATEL~(b)(1)1.4gl1NTERVALS. ,....__ _ _ _ _ _ _ _ _ __.
was Complex Attack      FALSE
was Coordinated         FALSE
Attack
was Counter Attack      FALSE
was ABP Involved        FALSE
was ANA Involved        FALSE
was ANP Involved        FALSE
was ANSF Involved       FALSE
was ISAF Involved       FALSE
was INS Involved        FALSE
was Medevac             FALSE
Requested

     SIGACT Location

    AO                 City            Classification   Releasability   Coordinate   Country         (More not shown)

                                                                                                     {More not shown)




                                                                                                   Page 4 of 7
             USCENTCOM FOIA 22-0063L                         0249                                    01/31/23
          Case 1:21-cv-01808-RDM                    Document 41-158           Filed 12/13/23            Page 6 of 11



Ops Report
                                                                                                              (More not shown)
   3/2 SBCT          BAQUBAH          ~                  Rel TO YSA, AYS,                      IRAQ           (More not shown)
                                                         CA~I. GBR

   CIONE Media

   Classification    Classification     Media            Originating        Originating Site   Media Type     (More not shown)
                      eleasabili!Y Mark Attachement      Network
                                                                                                              (More not shown)

                                                                                                              (More not shown)

   SEGRE+            NOFORN           07_1615D_APR_07                       CENT COM ROAR      Document       (More not shown)
                                      - IED_ATTK_ON_TF
                                        5-
                                      73_IVO_BAQUBAH

                                                                                                              (More not shown)

                     NOFORN           Slide1_668                            CENTCOMROAR        Photograph     (More not shown)

                                                                                                              (More not shown)
   SECRET            NOFORN           Slide2_131                            CENT COM ROAR      Photograph     (More not shown)

                                                                                                              (More not shown)
                     NOFORN           Slide3_418                            CENTCOMROAR        Photograph     (More not shown)

                                                                                                              (More not shown)
   SEGRET            NOFORN           Slide4_ 355                           CENTCOMROAR        Photograph     (More not shown)


   Vehicle

   Report Key        ECM Status       ECM Type           Impact Point       Position           Status         (More not shown)
                                                                                                              {More not shown)

                                                                                                              {More not shown)
   CC574726-5056-                                                                                             {More not shown)
   9023-
   583F8F5DOF1B042
   D

                                                                                                              (More not shown)
   CC574726-5056-                                                                                             {More not shown)
   9023-
   583F8F5DOF1B042
   D

                                                                                                              (More not shown)
   CC574726-5056-                                         {b){1 )1.4g                                         {More not shown)
   9023-
   583F8F5DOF1B042
   D

                                                                                                              {More not shown)
   CC574726-5056-                                                                                             (More not shown)
   9023-
   583F8F5D0F1B042
   D

                                                                                                              (More not shown)
   CC574726-5056-                                                                                             (More not shown)
   9023-
   583F8F5DOF1B042
   D




                                                                                                            Page 5 of 7
          USCENTCOM FOIA 22-0063L                              0250                                           01/31/23
            Case 1:21-cv-01808-RDM                 Document 41-158                 Filed 12/13/23    Page 7 of 11



Ops Report
   Target

   Affiliation       Description         Details            Nationality        Precedence    Report Key         (More not shown)
                                                                                                                (More not shown)

                                                                                                                (More not shown)

   Coalition         WIT 12          Patrol                 UNITED STATES      Primary       CC57 4 726-5056- (More not shown)
                     COMMENTS: THE                                                           9023-
                     TARGET OF                                                               583F8F5D0F1B042
                     ATTACK WAS                                                              D
                     COALITION FORCE
                     CONVOYS
                     TRAVLEING
                     ALONG THIS
                     ROUTE.




   Mode Of Attack                   Mode Of Attack Key              Event Type                 Event Category

   Improvised Explosive Device (IED) F065C77B-BF47-4649-A94B-       Explosive Hazard           IED Explosion
                                     AA77046EE81E

   Events1

   Event Category    Event Key           Event Type         Intended OutcomeSuicide          Hit Or Miss        {More not shown)
                                                                                                                (More not shown)

                                                                                                                (More not shown)

   IED Explosion     6CA45DB6-922E-      Explosive Hazard   Anti-Personnel     0                                (More not shown)
                     45DF-B4CF-
                     1249D8570589

   CCIR

   CCIR              CCIR Details        CCIR Group         CCIR Key           CCIR Sort      CCIR Summary      (More not shown)
                                                                                                                (More not shown)

                                                                                                                (More not shown)

   TRUE              IMMEDIATELY       MND-N CHOPS          CCAF6AB0-5056- 0                 6 - ACTION OR      {More not shown)
                     NOTIFY                                 9023-                            INCIDENT
                     COMMANDER                              58DD23DF8EF50BD                  RESULTING IN
                     MNC-IOFANY                             D                                SIGNIFICANT
                     COMMANDER                                                               MILITARY OR
                     (COMPANY                                                                CIVILIAN
                     THROUGH MSC),                                                           CASUALTIES.
                     FIRST SERGEANT,
                     OR COMMAND
                     SERGEANT MAJOR
                     WHOIS
                     SERIOUSLY
                     INJURED, WIA OR
                     KIA. \r\nTHIS
                     INCLUDES NON-
                     COMBAT RELATED
                     INCIDENTS.
                     \rlnTHIS INCLUDES
                     1X KILLED OR 3X
                     CASUALTIES FOR
                     CF. INCLUDES 1X
                     KILLED OR 7X
                     CASUALTIES FOR
                     ISF AND 3X KILLED
                     OR7X




                                                                                                               Page 6 of 7
            USCENTCOM FOIA 22-0063L                              0251                                           01/31/23
             Case 1:21-cv-01808-RDM                         Document 41-158      Filed 12/13/23           Page 8 of 11



Ops Report
                            CASUALTIES
                            CIVILIANS.
                            NEGATIVE
                            EXAMPLE: 010001
                            JAN 05, ROCKET
                            ATTACK ON CAMP
                            VICTORY, 7 X WIA.

     Casualty

     Wound Arms             Status              Group           Comments       Wound Chest        Wound Feet       (More not shown)

                                                                                                                   (More not shown)

                                                                                                                   (More not shown)
     FALSE                  Unknown             Unknown                        FALSE             FALSE             (More not shown)

                                                                                                                   (More not shown)
     FALSE                  Unknown             Unknown                        FALSE             FALSE             (More not shown)

                                                                                                                   (More not shown)
     FALSE                  Unknown             Unknown                        FALSE             FALSE             (More not shown)

                                                                                                                   (More not shown)
     FALSE                  Unknown             Unknown                        FALSE             FALSE             {More not shown)

                                                                                                                   (More not shown)
     FALSE                  Unknown             Unknown                        FALSE             FALSE             (More not shown)

     Association

     CIONE Folder  is Published Confidence    Classification Classification    DTG Posted   {More not shown)
     - - - - - - - - - - - - - - - - - - - - - - - - - - ~,-,eleasability Mark _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                   (More not shown)

                                                                                                                   (More not shown)
     Link to Analysis                           Confinned       SECRET         NOFOR~I           Feb06 2008        {More not shown)
     CIONE                                                                                       09:45:01
     Report

                                                                                                                   (More not shown)
     Link to Analysis                           Confirmed                      REb TO IJSA, AIJS, Dec 05 2014      (More not shown)
     CIONE                                                                     CAN, GBR           17:57:08
     Report

                                                                                                                   (More not shown)
     Link to Exploitation                       Confirmed       SECRET         REb TO IJSA, AIJS, Apr 07 2007      {More not shown)
     CIONE                                                                     CAN, GBR           13:59:03
     Report
                                                                                                                 10 Empty Attributes
 Battlespace Lead, Call Sign, Date Occurred(Z), ISAF Tracking Number, Incident Reported By, Originating Nation, Originating Network,
                                                                             Originating Site, Reintegratees Count, ffl~rT(IIIJJap
    Associated Org, Chemicals Found, Drugs Found, Equipment Found, Events Subordinate, IDF Details, Ops Capture, SIGACT Item,
                                                SIGACT Method Found, SIGACT Remark, SIGACT Requirements, Suspect, Units

Relationships
(None)



Attachments
(None)




                                                                                                                 Page 7 of 7
             USCENTCOM FOIA 22-0063L                               0252                                            01/31/23
    Case 1:21-cv-01808-RDM                    Document 41-158                  Filed 12/13/23            Page 9 of 11


 From:
 To:


                                                                (b}(3)130b, (b )(6)




 Subject:           ,.   ., Asualty Report - SUPP - Grassbaugh, Jonathan - I ncident Date/Time: 2007/04/07 16: 15
 Date:              Tuesday, April 24, 2007 1:37:45 PM




               FOR OFFfCIAL USE OMLN

 THIS E-MAIL CONTAINS FOR: OFFICIAL USE ON"c f (FOUOJ INFORMATION WHICH MUST BE
 PROTECTED UNDER THE PRJVACY ACT, DOD 5400.1 1-R. TREAT ANY ATTACHMENTS AS FOUO.

 ************************************************************
     DO NOT CHANGE ANYTHING BELOW THIS LINE.
 TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO
 DCIPS-FORWARD, MAKE YOUR CHANGES AND GENERATE THE EMAIL AGAIN.
 ************************************************************

 ************************************************************
 ***********      CASUALTY REPORT         ************
 ************************************************************

 Report Type: SUPP

 Casualty Type: Hostile

 Casualty Status: DECEASED

 Casualty Category: Killed In Action

 Report Number: 097-002D

 Personnel Type: Regular

 Personnel Affiliation: Active Duty

 Personnel Category: Obligated/Voluntary Service

 SSN (New/Old): _!~     (~  <6~) ~
                         b )~

 Last Name: Grassbaugh

 First Name: Jonathan

 Middle Name: D

 Service: United States Army

 Military Rank: CPT

 Military Unit of Assignment: HHC, 5-73 RSTA, 3BCT opcon 3HBCT 1st Cavalry Division task org 25th Infantry


USCENTCOM FOIA 22-0063L                                     0253                                                    01/31/23
   Case 1:21-cv-01808-RDM                 Document 41-158            Filed 12/13/23         Page 10 of 11


 Division

 Military UIC: WHPNT0

 Date/Time oflncident (New/Old): 20070407/1615

 Inflicting Force: Enemy Forces

 Incident City: Zaganiyah

 Incident Country: Iraq

 Circumstance: At 071615APR07, Task Force 5-73 reported an Improvised Explosive Device in the Diyala
 Province, in Zaganiyah in the vicinity of38S MC 7042 4576. 5-73 reported four United States Killed in Action and
 one United States Wounded in Action. Two Killed in Action and the Wounded in Action are at 332nd Expeditionary
 Medical Group at Balad and two Killed in Action are being evacuated to Forward Operating Base Warhorse.

    Body Armor: Eye Protector / Oakley (Ballistic) Spectacle

    Body Armor: Helmet I Advanced Combat Helmet

    Body Armor: Vest/ Other

 Date/Time ofDeath: 20070407/ 1648

 Place of Death Country: Iraq

 Cause ofDeath: massive trauma

 Grid: MC 7042 4576

 Vehicle Group

 Vehicle Type:                                    (b)(1 )1.4g


 Vehicle Armor

 Vehicle Owner: US Government

 Position in Vehicle:!    (b)(1 )1 .4g

 Investigation Required: Investigation Required

 Duty Status: Present For Duty

 DD Form 93 Date: 20060726

 DD Form 93 Review Date: 20060726

 SGLI Date: 20060726

 Birth Date:   I (b)(6)
 Birth State: OH

 Birth Country: United States



USCENTCOM FOIA 22-0063L                                  0254                                              01/31/23
   Case 1:21-cv-01808-RDM                      Document 41-158             Filed 12/13/23         Page 11 of 11


 Citizenship: United States

 Sex: Male

 Race: White

 Ethnicity: Other

 Religious Preference: Roman Catholic Church

 DMOS/AFSC: I IA

 PMOS: 38X

 PEBD: 20030526

 BASD/ADBD: 20030526

 HOR State: NH

 HOR Country: United States

 Remarks: SM was pronounced deceased by         I    (b)(3)130b, (b)(6}   !USAF, MD.

                        i
 SM was identified by {b){3)130b, {b)(6) !USAF by means of identification card.

 Religious Ministries were administered by Chaplain ! (b)(3)130b, (b)(6) !USAF at 1650.

 I 5-6 Investigating Officer is   I (b)(3)130b, (b)(6) IHHC 5-73 RSTA initiated on 7 April 2007
 SCMO Officer is l     (b)(3)130b. (b)(6)    IHHC 5-73 RSTA initiated on 7 April 2007

 Soldier's personal effects were inventoried and delivered to MACP on JO April 2007.

 I 5-6 Investigation was completed on 18 April 2007.

 Supplement made to reflect changes to date of I 5-6 Investigation completed.

 Will Supplement as information becomes available.

 Report completed bn){3)130b, {b)(ijHBCT Casualty NCO,! (b}(6}

 Field Grade Reviewing Officer:! (b)(3)130b, (b)(6)    l3HBCT Executive OfficerJ (b)C6)
 Software Version: DCIPS Forward - Version 4.0

                FOR OFFJCML USE ONLY




USCENTCOM FOIA 22-0063L                                     0255                                            01/31/23
